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                                IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION


     UNITED STATES OF AMERICA,                          )
                                                        )
                             Plaintiff,                 )
             vs.                                        )       Case No. 1:16-cr-00123-TWP-DML-01
                                                        )
     RAFAEL ROJAS-REYES,                                )
                                                        )
                             Defendant.                 )


          MEMORANDUM IN SUPPORT OF MOTION TO SUPPRESS CELL SITE RECORDS

                                                   I.       INTRODUCTION

             Defendant, Rafael Rojas-Reyes, has filed a Motion to Suppress cellular site records for

     telephone numbers 317-832-8595 and 317-935-0772 used by Rafael Rojas-Reyes based upon a

     violation of the Fourth Amendment to the United States Constitution. This Memorandum in

     submitted in support of the Motion to Suppress.

                                                        II. FACTS

            On June 7, 2016, Rafael Rojas-Reyes was indicted for numerous drug related offenses by

     the Federal Grand Jury in the Southern District of Indiana. During the Government’s investigation

     of Mr. Rojas-Reyes the United States Attorney’s Office for the Southern District of Indiana

     obtained cellular site records, subscriber information and call detail for telephone numbers 317-

     832-8595 and 317-935-0772 used by Rojas-Reyes pursuant to 18 U.S.C. §§ 2703(c)(1)(B) and

     2703(d) commonly referred to as the Stored Communications Act. As evidenced by the recently

     filed Government’s Notice Regarding Expert Witnesses (Document 572) the government intends

     to use this cell site location information at trial.
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                                                  III. BURDEN

           The government has the burden of demonstrating the legality of a warrantless search. United

     States of America v. Longmire, 761 F. 2d 411, 417 (7th Cir. 1985).

                                                IV. ARGUMENT

           The United States Supreme Court in Carpenter v. United States, 2018 U.S. Lexis 3844(2018)

     decided on June 22, 2018 declared that the Government’s use of the Stored Communications Act,

     18 U.S.C. 2703, to obtain cell site location information was a search and as such required that the

     Government comply with the Fourth Amendment to the United States Constitution. Compliance

     with the Fourth Amendment requires that absent an exception or exigent circumstances the

     government is required to obtain a probable cause warrant in order to obtain cell site location

     information. In the instant case the Government used the Stored Communications Act to obtain

     cell site location information for telephone numbers 317-832-8595 and 317-935-0772 used by

     Rojas- Reyes. The government did not obtain a warrant as required by the Fourth Amendment. The

     pertinent facts in the instant case are virtually identical to the facts in Carpenter. The cell site

     location information for cell phone numbers 317-832-8595 and 317-935-07712 was obtained in

     violation of the defendant’s Fourth Amendment right to be free from unreasonable search and

     seizure.



                                               V. CONCLUSION

             Based upon the foregoing facts and law, the cellular site records for telephone numbers

     317-832-8595 and 317-935-0772 should be suppressed.




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                                                   Respectfully submitted,



                                                   By: /s/ Richard L. Ford
                                                           Richard L. Ford
                                                           Atty. No. 6925-49
                                                           Attorney for Rafael Rojas-Reyes


                                        CERTIFICATE OF SERVICE

             I hereby certify that on July 3, 2018, a copy of the foregoing Memorandum in Support of
     Motion to Cell Site Records was filed electronically. Notice of this filing will be sent to all parties
     of record by operation of the Court’s electronic filing system. Parties may access this filing
     through the court system.




                                                   /s/ Richard L. Ford
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